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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:18-cv-02251-MEH
THE HILLS AT OAK RUN HOMEOWNER
ASSOCIATION,

Plaintiff,
v.
AMGUARD INSURANCE COMPANY,
Defendant.
______________________________________________________________________________

                       JOINT NOTICE OF SETTLEMENT
______________________________________________________________________________

        COMES NOW Plaintiff, The Hills at Oak Run Homeowner Association, by and through

its undersigned attorneys, and Defendant, AmGuard Insurance Company, by and through its

undersigned attorneys, and hereby file this Joint Notice of Settlement and advise the Court that the

parties to the above-captioned matter reached a settlement agreement. The parties will file the

appropriate stipulation for dismissal within 30 days of this Notice.

        Respectfully submitted this 14th day of February 2022.

 s/ Brian E. Devilling                                s/ Jonathan E. Bukowski
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